              Case 2:20-cr-00092-JCC Document 262 Filed 09/01/20 Page 1 of 1




                                                    THE HONORABLE JOHN C. COUGHENOUR
 1

 2

 3

 4

 5

 6
                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9    UNITED STATES OF AMERICA,                         CASE NO. CR20-0092-JCC
10                          Plaintiff,                  MINUTE ORDER
11           v.

12    ALAN GOMEZ-MARENTES et al.,

13                          Defendants.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on Defendant’s Luis Zavala-Sanchez’s ex parte
18   motion for an order appointing a coordinating discovery attorney (Dkt. No. 241). The Court
19   hereby REFERS the motion to the Honorable Brian A. Tsuchida, United States Magistrate Judge.
20          DATED this 1st day of September 2020.
21                                                        William M. McCool
                                                          Clerk of Court
22

23                                                        s/Tomas Hernandez
                                                          Deputy Clerk
24

25

26


     MINUTE ORDER
     CR20-0092-JCC
     PAGE - 1
